   Case: 1:24-cv-00607 Document #: 132 Filed: 07/12/24 Page 1 of 3 PageID #:1386




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ROADGET BUSINESS PTE. LTD.,

                              Plaintiff,                   Case No.: 1:24-cv-00607

       vs.

THE INDIVIDUALS, CORPORATIONS,                             Judge Lindsay C. Jenkins
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT,

                              Defendants.

  PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
                AGAINST DEFENDANTS NOS. 1, 3, 8, 11, & 13

       Plaintiff Roadget Business Pte. Ltd., (“Plaintiff” or “Roadget”), by its counsel, moves

this Court to enter Default and Default Judgment pursuant to Federal Rules of Civil Procedure

55(a) and 55(b)(2), against Defendants Nos. 1, 3, 8, 11, and 13 (“Defaulting Defendants”) as

listed on Schedule A, ECF No. 8, and Exhibit A attached hereto. A Memorandum of Law in

support of this motion is filed concurrently with the motion.
  Case: 1:24-cv-00607 Document #: 132 Filed: 07/12/24 Page 2 of 3 PageID #:1387




July 12, 2024                           Respectfully submitted,

                                        By: /s/ Steven J. Horowitz
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                                         Matthew D. Binder
                                         Deepa A. Chari
                                         Taylor J. Wilson
                                         Michael C. Springer-Ingram
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                                         Counsel for Plaintiff
                                         Roadget Business Pte. Ltd.
   Case: 1:24-cv-00607 Document #: 132 Filed: 07/12/24 Page 3 of 3 PageID #:1388




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2023, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a

website, and I will send an e-mail to the e-mail addresses provided by third parties for each of

the Defaulting Defendants, including a link to the website.




 July 12, 2024                                    Respectfully submitted,

                                                  By: /s/ Steven J. Horowitz
                                                   Steven J. Horowitz
                                                   Matthew D. Binder
                                                   Deepa A. Chari
                                                   Taylor J. Wilson
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                                                   Roadget Business Pte. Ltd.
